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      in her official capacity as Director of Oregon Health Authority




                           UNITED STATES DISTRICT COURT

                                 DISTRICT OF OREGON

                                 PORTLAND DIVISION

DISABILITY RIGHTS OREGON;                       Case No. 3:02-cv-00339-AN (Lead Case)
METROPOLITAN PUBLIC DEFENDERS                   Case No. 3:21-cv-01637-AN (Member Case)
INCORPORATED; and A.J. MADISON,                 Case No. 6:22-cv-01460-AN (Member Case)

             Plaintiffs,
      v.                                        NOTICE OF ASSOCIATION OF
                                                COUNSEL
SEJAL HATHI, in her official capacity as
Director of Oregon Health Authority; and        By Cable Huston LLP
SARA WALKER, in her official capacity as
INTERIM Superintendent of the Oregon State
Hospital,

             Defendants.
                (caption continued next page)




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JAROD BOWMAN; and JOSHAWN                         Case No.: 3:21-cv-01637-AN (Member Case)
DOUGLAS SIMPSON,

              Plaintiffs,

       v.

SARA WALKER, Interim Superintendent of
the Oregon State Hospital, in her official
capacity; DOLORES MATTEUCCI, in her
individual capacity; SAJEL HATHI, Director of
the Oregon Health Authority, in her official
capacity; and PATRICK ALLEN, in his
individual capacity,

              Defendants.

LEGACY EMANUEL HOSPITAL &                         Case No.: 6:22-cv-01460-AN (Member Case)
HEALTH CENTER d/b/a UNITY CENTER
FOR BEHAVIORAL HEALTH; LEGACY
HEALTH SYSTEM; PEACEHEALTH;
PROVIDENCE HEALTH & SERVICES –
OREGON; and ST. CHARLES HEALTH
SYSTEM, INC.

              Plaintiffs,

       v.

SEJAL HATHI, MD, in her official capacity as
Director of Oregon Health Authority,

              Defendant.


       PLEASE TAKE NOTICE that pursuant to LR 83-9, Jon W. Monson, Nicole M. Swift,

and Victoria K. Baker of Cable Huston LLP hereby appear in the above-captioned action as co-

counsel of record for Defendant Sejal Hathi, MD, in her official capacity as Director of Oregon

Health Authority, in Case No. 6:22-cv-01460-AN.

       Carla A. Scott, Sheila H. Potter, Craig M. Johnson, and Shaunee Morgan of the Oregon

Department of Justice, remain as counsel for all Defendants in the above-captioned cases. All




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notices, including electronic, regarding this matter should be co-served on Jon W. Monson,

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                                            CABLE HUSTON LLP


                                            s/ Jon W. Monson
                                            s/ Nicole M. Swift
                                            s/ Victoria K. Baker
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